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                                 UN ITED STA TES D ISTR IC T CO U R T
                                 SO U TH ERN D ISTRIC T O F FLO R ID A
                                      CA SE N O .16-20803-C R-BB


  UN ITED STA TE S O F A M ER ICA

  V S.


  AI,I CA BY,
        a/k/a dEltlex C aby,''

         D efendant.
                                          /

                                        PL EA A G RE EM EN T

         TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(ççthisOffice''land
  Atzl CABY,a/kla Eçytlex Caby,''(hereinafter referred to as the ççdefendanf') enter into the
  follow ing agreem ent:

             The defendantagreesto plead guilty to the follow ing countofthe indictm ent:Count1,

  which chargesthedefendantwith conspiracyto (1)exportgoodsfrom theUnited StatestoSyria
  w ithouta license,in violation ofTitle 50,U nited States Code,Sections 1701-1706,and Title 15,

  CodeofFederalRegulations,Part746.94$,
                                      *(2)exportgoodsfrom theUnited StatestoSpecially
  D esignated N ational SY RIA N AR AB M R LIN ES w ithout a license,in violation of Title 50,

  U nited States Code,Sections 1701-1706,and Title 31,Code ofFederalRegulations,Part594.204;

  and (3) defraud the United States governmentby interfering with and obstructing a lawful
  governm ent function by deceit,craft,trickery,and dishonestm eans,a11in violation ofTitle 18,

  U nited StatesCode,Section 371.

         2. This Office ap-ees to seek dism issalofthe rem aining counts in the indictm ent,as to

  thisdefendant,aftersentencing. ThepartiesagreetojointlyrecommendthattheCourt,pursuant
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  to18U.S.C.j3553(a),shouldimposeasentencethatisbelow theadvisoryguidelinerangebased
  on the parties' com pliance w ith the m utual prom ises herein. Specifically, the parties w ill

  recomm end thatthe Courtimpose a sentence of24 m onths ofimprisonm ent. The defendant

  tm derstands and acknow ledges thatthe Courtis under no obligation to im pose a sentence thatis

  below the advisory guidelinesrange.

         3. Thedefendantisawarethatthesentencewillbeimposedby theCourtafterconsidering

  the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter ççsentenci
                                                                                         ng
  Guidelines'). The defendant acknowledges and understands thatthe Courtwill compute an
  advisory sentence under the Sentencing Guidelines and that the applicable guidelines w illbe

  determined bytheCourtrelying inpartontheresultsofapre-sentenceinvestigation bytheCourt's

 probation office,which investigation willconunence aftertheguilty pleahasbeen entered. The

  defendantisalso aw are that,undercertain circm nstances, the Courtm ay departfrom the advisory

  sentencing guidelinerange thatithas computed,and m ay raise or lowerthatadvisory sentence

 underthe Sentencing Guidelines. The defendantis further aware and understandsthatthe Court

 isrequired to considerthe advisory guideline range detennined underthe Sentencing Guidelines,

 butisnotbolm d to im pose a sentence w ithin thatadvisory range;the Courtispennitted to tailor

 the ultim ate sentence in lightofother statutory concerns,and such sentence m ay be either m ore

 severe or less severe than the Sentencing Guidelines'advisory range. Know ing these facts,the

 defendantunderstandsand acknowledgesthatthe Courthastheauthodtyto impose any sentence

 w ithin and up to the statutory m axim um authorized by law forthe offense identified in paragraph

 1 and thatthe defendantm ay notw ithdraw theplea solely as aresultofthe sentence im posed.

        4. The defendant also understands and acknow ledges that the Court m ay impose a

 statutorymaximum tenn ofimprisonmentofuptofive(5)years,followedbyaterm ofsupervised
                                                 2
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  release ofup to 3 years. In addition to a term ofimprisonm entand supervised release,the Court

  may im poseafineofup to $250,000.
              The defendantfurther understand and acknow ledgesthat,in addition to any sentence

  imposed underparagraph 4 ofthisagreement,a specialassessm entin theam ountof$100 willbe

  im posed.

              This Office agreesthatitw illrecom m end atsentencing thatthe Courtreduce by two

  levels the sentencing guideline levelapplicable to the defendant's offense,pursuant to Section

  3E1.1(a)ofthe Sentencing Guidelines,based upon the defendant'srecognition and affirmative
  and tim ely acceptance of personal responsibility. If at the tim e of sentencing the defendant's

  offense level is determined to be 16 or greater, this Office w ill file a m otion requesting an

  additionaloneleveldecreasepursuantto Section 3E1.1(b)oftheSentencingGuidelines,stating
  thatthe defendanthas assisted authorities in the investigation or prosecution ofthe defendant's

  ow n m isconduct by tim ely notifying authorities ofthe defendant's intention to enter a plea of

  guilty, thereby pennitting the governm ent to avoid preparing for trial and perm itting the

  governm entand the Courtto allocate theirresotlrces efficiently.ThisO ffice,how ever,willnotbe

  requiredtomakethismotionorthisrecommendationifthedefendant:(1)failsorrefusestomake
  a 1 11,acctlrate and com plete disclosure to the probation office ofthe circum stances sunounding

  therelevantoffenseconduct'
                           ,(2)isfoundtohavemisrepresented factstothegovernmentpriorto
  entering into thispleaagreement;or(3)commitsany misconductafterenteling into thisplea
  agreem ent,including butnotlim ited to com m itting a state or federaloffense,violating any term

  ofrelease,orm aking false statem entsorm isrepresentationsto any governm entalentity orofficial.

              The defendantis aw are that the sentence has not yetbeen determ ined by the Cotu't.

  The defendantalso isaw arethatany estim ate oftheprobablesentencing range orsentence thatthe
                                                 3
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  defendantm ay receive,whetherthatestim ate com es from the defendant's attom ey,thisOftk e,or

  theprobation office,isaprediction,notapromise,and isnotbindingon thisOffice,theprobatioh

  oftk e orthe Court.The defendantunderstandsfttrtherthatany recom mendation thatthis Oftk e

  makestotheCourtastosentencing,whetherpursuanttothisagreem entorotherwise,isnotbinding

  on the Court and the Courtm ay disregard the recom m endation in its entirety. The defendant

  understands and acknow ledges, as previously acknow ledged in paragraph 3 above, that the

  defendantm ay notw ithdraw the plea based upon the Court's decision notto accepta sentencing

  recommendation madeby the defendant,thisOffice,orarecommendation madejointly by the
  defendantand thisO ffice.

         8. The defendantis aw are thatTitle 18,United States Code,Section 3742 and Title 28,

  U nited States Code,Section 1291 afford the defendantthe rightto appealthe sentence im posed in

  this case. A cknow ledging this,in exchange for the undertaldngs m ade by the U nited States in

  thisplea agreem ent,the defendanthereby w aives allrightsconferred by Sections 3742 and 1291

  to appealany sentence im posed,including any restitution order,orto appealthe m annerin wllich

  the sentence w asim posed,unlessthe sentence exceedsthem axim um pennitted by statute oristhe

  resultofan upward departurç and/or an upw ard variance f'
                               .                          rom the advisory guideline range that

  the Court establishes at sentencing. The defendant further understands that nothing in this

  agreem entshallaffectthe governm ent's rightand/orduty to appealas setforth in Title 18,U nited

  StatesCode,Section 37421)and Title 28,United StatesCode,Section 1291. However,ifthe
  United States appeals the defendant's sentence pursuantto Sections 37424b) and 1291,the
  defendantshallbereleased from the above w aiverofappellaterights. By signing this agreem ent,

  the defendantacknow ledges thatthe defendant has discussed the appealw aiver set forth in this

  agreem entw ith the defendant's attorney.
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         9. The defendantagreesto forfeitto the United States, voluntarily and im m ediately,al1

  rights,title,and interestto àny property, realand personal,which constitute orare derived from

  proceedstraceable to the comm ission oftheconspiracy to setforth in Count1oftheindictm ent,

  plzrsuantto Title 18,United States Code, Section 981(a)(1)(C),asmadeapplicablebyTitle28,

  UnitedStatesCode,Section,2461(c),andtheproceduressetforth atTitle21,UnitedStatesCode,
  Section853. Thedefendantspeciticallyagreestotheentryofaforfeituremoneyjudgmentinthe
  amountof$17,500,which sum representsthevalueoftheproperty thatissubjectto forfeiture
  from the defendantas to Count 1, to be paid prior to the date of sentencing. To the extentthat

 such property isno longerwithin thepossession orcontrolofthe defendant, the defendantam ees

 thatthe United Statesm ay seek substituteproperty within them eaning 21U . S.C.j853tosatisfy

 theforfeitttremoneyjudgment.
        10.     The defendantknowingly and voluntarily agrees to w aive any claim or defense

 undertheEighth Am endm entto theUnited StatesConstitution, including any claim ofexcessive

 fine orpenalty with respectto any forfeited property. In addition,the defendantagreesto waive

 anyapplicabletimelimitsforadministrativeorjudicialforfeitureproceedingsbroughtagainstany
 forfeited property,and any appealoftheforfeited property.

               Thedefendantalsoagreesto assistthisOffice in al1proceedings, adm inistrative or

 judicial,involvingforfeitmeto theUnited Statesofany property,including substituteproperty,
 regardless ofits nature,form ,or location. The assistance shallinclude:identifying any propel'ty

 subjectto forfeittlre,providing testimony beforea federalgrandjury orin an administrative or
 judicialproceeding,consentingtotheentryofan orderenjoiningthetransferorencumbranceof
 suchproperty,andtransferringsuchpropertytotheUnited Statesby deliveringtothisOffice, upon

 this Oftk e's request, any necessary and appropriate docum entation, including consents to
                                                5
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  forfeiture and quitclaim deeds,to delivergood and m arketable title to such ploperty.

                Thedefendantknowingly and voluntarily agreesand understandsthatforfeitureof

  theProperty aveedupon herein shallnotbetreatedassatisfaction (eitherpartialorfu11)ofany
  àssessm ent,fine,restitution,costofim prisonm ent,orany otherpenalty thatthe Courtm ay impose

  upon the defendantin addition to theforfeiture.

         13.    D efendantrecognizes thatpleading guilty m ay have consequences with respectto

  the defendant'sim m igration status ifthe defendantisnot a citizen ofthe U nited States. Under

  federal law , a broad range of crim es are rem ovable offenses,including the offense to w hich

 defendantispleading gtlilty.lndeed,because defendantispleading guilty to conspiracy to violate

 the Intem ational Econom ic Em ergency Pow ers A ct, rem oval is presum ptively m andatory.

 Removalandotherimmigration consequencesarethesubjectofaseparateproceeding,however,
 and defendantunderstandsthatno one,including the defendant'sattolmey orthe Court,can predict

 to a certainty the effect of the defendant's conviction on the defendant's im m igration status.

 Defendant nevertheless affirm s that the defendant wants to plead gtzilty regardless of any

 im m igration consequences thatthe defendant's plea m ay entail, even if the consequence is the

 defendant's autom aticrem ovalfrom the United States.
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         14. Thisistheentireagreem entandunderstandingbetweenthisOftk eandthedefendant.

  There are no otheragreem ents,prom ises, representations,orunderstandings.

                                            BEN JA M PQ G .GREEN BERG
                                            A CTECG U N ITED ST TES A TTO RN EY


  Date: JJ -3M 7              By:
                                            RICA RD O A .D EL TO RO
                                            A SSISTAN T UN ITED STA TES A TTORN EY


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